Case: 1:13-cv-07998 Document #: 299 Filed: 10/22/19 Page 1 of 1 PageID #:3975

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Kelly Hespe
                                  Plaintiff,
v.                                                     Case No.: 1:13−cv−07998
                                                       Honorable Jorge L. Alonso
City Of Chicago, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 22, 2019:


       MINUTE entry before the Honorable Jeffrey Cummings:The Court's previous
minute order setting the settlement conference is amended to include the proper e−mail
address for the submission of settlement letters. The e−mail address is:
Settlement_Correspondence_Cummings@ilnd.uscou rts.gov. (rbf, )




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